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UNITED STATES DISTRICT COURT                                         DOC#:
SOUTHERN DISTRICT OF NEW YORK                                        DATE FILED: 9/22/2017



 JOVAN! FASHION, LTD.,

                              Plaintiff,
                                                                  No. 17-CV-4518 (RA)
                         v.
                                                                 ORDER
 CHUBB CORPORATION, FEDERAL
 INSURANCE COMPANY and GREAT
 NORTHERN INSURANCE COMPANY,

                              Defendants.


RONNIE ABRAMS, United States District Judge:

         As discussed at today's initial conference, on the consent of the parties, it is hereby ordered

that:

         •   Defendant Chubb Corporation is dismissed without prejudice.

         •   Plaintiffs opposition to Defendants' Motion to Dismiss is due October 20, 2017, and

             Defendants' reply is due November 10, 2017.

         •   Discovery is stayed until the pending motion is decided, with the exception that

             Plaintiff shall produce to Defendants a copy of the settlement agreement in Malibu

             Textiles, Inc. v. Jovani Fashion, Ltd., 16-CV-8409.

SO ORDERED.

Dated:       September 22, 2017
             New York, New York

                                                    Ronnie Abrams
                                                    United States District Judge
